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          JS 44 (Ra:. m>JJ9)                                                                        CiVIL COVER SHEET                                                                                                     JUL 2 9 REC'D


          I~ (a) PLAINTIFFS                                                                                                                     DEFENDANTS /}                          P.P&J v, 1H ;trTE: L 'I lj:;, 5 I ks.
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           VIIL RELATED CASE(S)
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                                                     Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 1 of 24
J ...,_
                                          ~        UNITEDSTll.TES.
                                       !INiiJ!l POST/llSERVICE0
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                                      NOTIFY CORRESPONDEMTS                                       MAIL FORWARDING EXPIRATION DATES
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                                      Mail forward"ing may be available
                                      for up to 12 months and covers                                 Newspapers, Magazines•••••••••••••••
                                      only certain classes of mail.                                  Packages1••••••••••••••••••••••••••••••••
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                                       Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 2 of 24
,..,_.., -z .
               Casb 2:15-cr-20743-DML~MKM, ECF. No. 187 filed 07/15/19 Page!D.4728 Page 12 of12
•
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                            ursuant to 28 U-~-C- section 30J2(10)(12)(13land{15) and 5                                                                            u.s.c~
                           ~~ction 551 the (Petitioner) FEDERAL RESERVE BANK SYSTEM ACCOUNTING
                            R is an IIAgencyll of the United Stetes and pursuant tc·2s                                                                       u.S-:c.
                            ecti~n 2408 cast shall NOT be required in the filing of the
                          attached petition.


                           28       u.s.c.                                     --
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                          /s/ Duane L. Berry
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                          DUANE L. BEkRY (Federa[ tr~stee)
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                          F£DERAL RESERVE BANK SYSTEM ACCOUNTING TR                                                                       RECEIVED
                          38742 Bramham St.                                                                                               AUG O6. 2019
                          Clinton Twp-~ Ml 48038
                                                                                                                                      OFFICE OF THE CLEBK
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                                             Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 3 of 24
                  THE UNITED STATES DISTRICT COURT
                                                            RECEIVED
                                                              JUL 2 9 REC'D
FEDERAL RESERVE BANK SYSTEM ACCOUNTING TR
and
                                                            Case No.
FEDERAL RESERVE BANK OF NEW YORK,                                      ---
             v.

APPROXIMATELY 44.5 lbs. of seized federal
securities #•••6098149, held in the
custody of CNN, 1 CNN Center, Atlanta, GA
30303                                                     COMPLAINT FOR
                                                       FORFEITURE IN REM
APPROXIMATELY 44.6 lbs. of seized federal
securities #•••6161270, held in the
custody of USA Today, 535 Madison Ave.,
54th St., New York, NY 10022

APPROXIMATELY 44.8 lbs. of seized federal
securities #•••3375564, held in the
custody of Washington Post, 1150 15th St.,
NW, Washington, DC 20071

APPROXIMATELY 44.8 lbs. of seized federal
securities #•••3398922, held in the
custody of New York Times, 620 8th Ave.,
New York, NY 10018

APPROXIMATELY 44.8 lbs. of seized federal
securities #•••3407541, held in the
custody of Wall Street Journal, 1211 6th
Ave., New York, NY 10036

APPROXIMATELY 45.5 lbs. of seized federal
securities #•••7721472, held in the
custody of--,Eric' D. Wilson and T. Scarantino,
FMC Butner, Old NC Hwy. 75, Butner, NC
27509

APPROXIMATELY $8,910,308.93 in funds seized
from Bank of America Account #••••1897,
P.O. Box 17270, Wilmington, DE 19850

APPROXIMATELY $500,00.00 in funds seized
from JP Morgan Chase Bank Account #•••1193,
2001 Bryan St., suite 1800, Dallas, TX 75201




       Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 4 of 24
                  Case 19-1540, Document 256-2, 02/19/2020, 2781801, Page1 of 1




                             United States Court of Appeals for the Second Circuit
                                     Thm·good Marshall U.S. Courthouse
                                               40 Foley Square
                                            New York, NY 10007

         ROBERT A. KATZMANN                                            CATHERINE O'HAGAN WOLFE
         CHIEF JUDGE                                                   CLERK OF COURT

         Date: February 19, 2020                               OC Docket#: 19-cv-3826
         Docket#: 19-1540cv                                    OC Court: SDNY (NEW YORK CITY)
         Short Title: Donald J. Trump v. Deutsche Bank AG      OC Judge: Ramos




               I, CATIIERINE OHAGAN WOLFE, Clerk ofthe United States Court ofAppeals for the
         Second Circuit, do hereby certify that the enclosed documents, numbered from 1, 2, 3, 5, 8, 11,
         13, 15, 17, 18,20,21,22,24,26,35,3 7,50,51,52,54,55,57 ,59,60,61,65,66, 71, 73, 78, 79,
         80, 81, 82, 85, 86, 93, 102, 103, 104, 105, 106, 109 (sealed), 112, 122, 124, 126, 127, 128, 130,
         134, 137, 138, 141, 143, 145, 148, 149, 156, 157, 158, 160, 161, 162, 165 (sealed), 166, 172,
         176, 180, 181, 184, 186, 187, 188, 190, 193, 197,199,20~05,207,214,215,216,222,
         223, 225, 226, 227, 228,229,232,234,240,242,243,25 , 252, 3 comprise the original
         documents filed in this Court, and the same remain ofrecor:        on file in my office.



         IN TESTIMONY WHEREOF, I have caused
         the seal ofthe said Court to be hereunto affixed,
         at the City o fNew York, in the Second Circuit,
         this nineteenth day ofFebruary, in the year of
         our Lord two thousand twenty, and ofthe
         Independence ofthe said United States,
         the two hundred forty fourth year.




         CATIIERINE O'HAGAN W




A True Copy




                                 D ON 02/19/2020
                Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 5 of 24
                            Case 19-1540, Docum~01/07/2020, 2748195, Page8 of 13

                                                                                                           RECEIVED
                                            IN THE UNITED STATES COURT OF APPEALS                             JUL 2 9 REC'D
                                                         FOR THE SECOND CIRCUIT
                                                                                                        PETER A. MOOff!1:JR., CLERK·
                                                                                                         US DISTRICT CuuRT, EDNC
                                                           DOCKEf NO. 19-1540-cv


                DONALD J TRUMP, DONALD J. TRUMP, JR., ERIC TRUMP, IVANKA TRUMP, DONALD J. TRUMP REVO~ABLE
                TRUST TRUMP ORGINIZATION, INC., TRUMP ORGINIZATION LLC, DIT HOLDINGS LLC, DIT HOLDINGS
                MANAGING MEMBER LI.£, TRUMP ACQUISITION LLC, TRUMP ACQUISITION, CORP.,

                            Plaintiffs -Appellants,

                FEDERAL RESERVE BANK SYSTEM ACCOUNTING TR, FEDERAL RESERVE BANK OF NEW YORK, FEDERAL
                TRUSTEE DUANE L. BERRY

                            lnteivenor Plaintiffs -Appellants,


                v.


                DEUTSCHE BANK.AO CAPITAL ONE FIANACIAL CORPORATION,

                             Defendants - A ppellecs,

                COMMITTEE ON FINANCIAL SERVICES OF THE UNITED STATES HOUSE OF REPRESENTATIVES,
                PERMANENT SELECT COMMITTEE ON INTELLIGENCE OF THE UNITED STATES HOUSE OF
                REPRESENfATIVES,

                             Inteivenor Defendants -Appellees
                --------------------------''
                                                        WARRANT FOR ARREST IN REM

                TO: THE UNITED STATES MARSHAL AND ANY OTHER AUTHORIZED PERSON

                     WHEREAS, in a matter concerning the National Security of the United States and the security of

                the President of the United States, Donald J. Trump, in the above captioned action, the ("Intervenor

                Plaintiffs -Appellants') has issued a warrant for arrest in rem regarding the recovery and investigation

                of classified tax records, documents, and financial banking infonnation in the aforementioned case

                pursuant to the National Security Act ("NSA'). See 50 U.S.C. sect. 3162(a)(l)

                     WHEREAS, pursuant to the (''NSA') the undersigned Federal Trustee is the head of a federal

                agency and is authorized to issue this wammt and no further court action is required. See 50 U.S.C.

                sect. 3162(a)(3)(A)




                          Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 6 of 24
..,..,_., "2'
REQUESTED PROPERTY



1.    Federal Security#         6098149 (apprx. 44.5 lbs.)

      Custodian: CNN
                 1 CNN Center
                 Atlanta, GA 30303


2.    Federal Security#         6161270 (apprx. 44.6 lbs.)

      Custodian: USA Today
                 535 Madison Ave.
                 54th Street
                 New York, NY 10022

3.    Federal Security#         3375564 (apprx. 44.8 lbs.)

      Custodian: Washington Post
                 1150 15th Street NW
                 Washington, DC 20071

4.    Federal Security#         3398922 (apprx. 44.8 lbs.)

      Custodian: New York Times
                 620 8th Ave.
                 New York, NY 10018

5.    Federal Security#         3407541 (apprx. 44.8 lbs.)

      Custodian: Wall Street Journal
                 1211 6th Ave.
                 New York, NY 10036




WHEREAS, pursuant to the NATIONAL SECURITY ACT, the Custodian
served this warrant shall not disclose to any person that the
property requested and seized have been obtained with the excep-
tion of "those persons to whom disclosure is necessary in or-
der to comply with the request;"  (See 18 USC§ 3511)




*    THE NON-DISCLOSURE REQUIREMENT SHALL BE SUBJECT TO COURT REVIEW




            Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 7 of 24
                                   4-S(a)
FedEx Ground           Case 19-1540, Document 252, 01/07/2020, 2748195, Page10 of 13
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FedEx Ground                                              STANDARD RA fE
 77652339892'.l 44.& lbs. (S)              44.34
~    Dec la red Value 100                            Package Inforrnat ion:
Recipient Address:                                        Your Packaging
     dean p baquet
                                                          18 X i3 a 13
     ne1~ york times headquarters
     620 8th ave
     Ne~, York, NY iOO 18                            Fedfx Ground
      4444444444                                      780236161270 44.~ lbs. (SJ                       44.34
                                                          Dec la red Value 100
Scheduled Delivery Date is 2 _business days          Recipient AdrJress:
Pricing option:                                           USA Today
      STANDARD RATE                                       535 Madisun Ave
                                                          54th Street
Package Informal ion:                                     Ne~J York, NY 10022
     Your Packaging                                       0000000000
     19 X 13 X 13
                                                     Scheduled Delivery Oate is 2 business davs
FedEx Ground                                         Pricing option:
 776523407541 44.8 lbs. (S)                44.34          STANDARD RArE
 - Declared I/a lue 100
Recipient_ Addrnss:                                  Package Infonudl ion:
     matt murray                                          Your Packaging
     1qa 11 street journal                                18 X 13 X 13
      1211 6th ave
      Ne~, York, NV 10036
                                                                 Sh 1pn1er,l ::;utitola I:            $143.11
      4444444444
                                                                             fotal Due:               $143.11
Scheduled Delivery Date is 2 business days
Pricing option:
                                                                       (S) Credi tC<ird:              $143.11
      STANDARD RAlE                                            ******·i=**i--~-t=7l9 I

Package Information:
     Your Packaging                                                                          .. :_:
     19 X 13 X 13

               Shipment suhtnta l:       $177.36

                           Total Oue:     $177 .36

                 (S) CreditCard:          $177.36
            ******f*****7791
                     Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 8 of 24
       USM-285 is a 5-part form~ Pill out the form and print 5 copies. Sign as needed and route as specifred below.

  U.S. Department of Justice                                                             PROCESS RECEIPT AND RETURN
  United States Marshals Service
                                                                                         See "lnstructions for Service of Process by U.S. Marshal"

   PLAINTlFF                                                                                                            COURT CASE NUMBER
                 Donald J. Trum                           et al.
   DEFENDANT                                                                                                            TYPE OF PROCESS

                 Deutsche Bank AG                             et al.                                                     WARRANT for ARREST
                      NAME OF INDIVIDUAL, COMPANY, CORPORATION. EfC. TO SERVE OR DESCRll:7flON OF PROPERTY TO SEIZE OR CONDEMN

   SERVE                Wall Street Journal
      AT{             ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                        1211 6th Ave., New York, NY 10036
  SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BEWW
                                                                                                                   Number of process to be
                                                                                                                                                            1
                 r                                                                                                 served witlnhis Fonu 285


                                                                                                                   Number of parties to be
        SEE ATTACH. OFFICIAL CHANGE OF ADDRESS                                                                     served in this case                      3
  *                                                                                                    *
                                                                                                                   Check for service
                 L                        pg. 5-5
                                        -------------·                                                      ----
                                                                                                                   on U.S.A.


   SPECIAL INSTRUCTlONS OR OTHER INFORMATlON THAT WlLL ASSlST lN EXPEDITlNG SERVICE ffnclude Business and Alternate Addresses.
   All Telepl1one Numbers, and Estimated Times Availablefor Senice):
Fold                                                                                                                                                                 Fold
        UNITED STATES MARSHAL YOU ARE HEREBY COMMANDED to arrest the
        following property per the attached Warrant[dkt#252], under
        the NATIONAL SECURITY ACT, and immediately return to the
        requester. (Self-addressed Stamped Envelope Enclosed)

                                nginator requesting service on behalf of:                OJ PLAINTIFF           TELEPHONE NUMBER                  DATE

                                                                                         OJ DEFENDANf                                            5/23/20
                            W FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW TIDS LINE
  I acknowledge receipt for the total    Total Process    District of      District to       Signature o( Authorized USMS Deputy or Clerk                 Date
  number of process indicated.                            Origin           Serve
  (Sign only for USM 285 ifmore
  thm1 one USM 285 is submitted)                          No.              No.

  I hereby certify and return that I OJ have personally served , OJ have legal evidence of service, C have executed as shown in "Remalks", the process described
  on the individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

   D    I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

   Name and title of individual served (if not shown abm•e)                                                               D   A person of suitable age and discretion
                                                                                                                              then residing in defendant's usual place
                                                                                                                              of abode
   Address (complete 011ly differe11t thm, shown above)                                                                   Date                  Time
                                                                                                                                                                   Olam
                                                                                                                                                                   OJ pm
                                                                                                                          Signature of U.S. Marshal or Deputy


   Service Fee        Total Mileage Charges Forwarding Fee              Total Charges        Advance Deposits      Amount owed to U.S. Marshal* or
                      including endeavors)                                                                         (Amount of Refund*)




   REMARKS:




   PRINT 5 COPIES:       I. CLERK OF THE COURT                                                                                         PRIOR EDITIONS MAY BE USED
                         2. USMS RECORD
                         3. NOTICE OF SERVICE
                         4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,                                                              Form USM-285
                            if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                               Rev. 12115/80
                         5. ACKNOWLEDGMENT OF RECEil:7f                                                                                                      Automated 01/00


                           Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 9 of 24
                                                  1-5
       tJSM~285 is a·5-part form. Fill out the form and print 5 eoF)ies. Sign as needed and route as speeified below.

 U.S. Deparbnent of Justice                                                                     PROCESS RECEIPT AND RETURN
 United States Marshals Service                                                                 See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                                         COURT CASE NUMBER
                     Donald J. Trump, et al.                                                                                          19-1540
  DEFENDANT                                                                                                                          TYPE OF PROCF.SS

                     Deutsche Bank AG, et al.                                                                                         WARRANT for ARREST
                              NAME OF lNDlVIDUAL, COMPANY, CORPORATlON. EfC. TO SERVE OR DESCRIPTlON OF PROPERTY TO SEIZE OR CONDEMN

       SERVE                    USA Today
          AT{                ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                                                                   .
                                535 Madison Ave , 54th St , New York
  SEND NOTlCE OF SERVlCE COPY TO REQUESTER AT NAME AND ADDRESS BELOW
                                                                                                .                           .     NY 10022
                                                                                                                                Number of process to be
                                                                                                                                served with this Fonn 28.5             1


       *            '
           SEE ATTACH. OFFICIAL CHANGE OF ADDRESS
                                                                                                                   *
                                                                                                                                Number of parties to be
                                                                                                                                served in this case


                                                                                                                                Check for service
                                                                                                                                                                       3

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  ouo•u••••n••••••••••••••••••••n•••••-••
                                                   pg. 5-5
                                                  ----                                  -------------
                                                                                                                                on.U.S.A.

   SPEClAL lNSTRUCTlONS OR OTHER lNFORMATlON THAT WILL ASSlST IN EXPEDITING SERVlCE (lncl,ule BrlSiness am/ Alternate Ad4n!sses,
   AU Telephone Numbers, and Estimated Times A•Yiilable for Service):
Fold                                                                                                                                                                              Fold
           UNITED STATES MARSHAL YOU ARE HEREBY COMMANDED to arrest the
           following property per the attached Warrant[dkt#252J, under
           the NATIONAL SECURITY ACT, and immediately return to the
           requester. (Self-addressed Stamped Envelope Enclosed)

                                                                                                ml PLAINTIFF               TELEPHONE NUMBER                    DATE

                                                                                                OJ DEFENDANT                                                   5/23/20
                                  OW FOR USE OF US. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
  I acknowledge receipt for the total            Total Process   District of      District to           Signature of Authorized USMS Deputy or Oerk                    Date
  mnnber of process indicated.                                   Origin           Serve
  (Sign only for USM 285 ifnwre
  than one USM 285 is submiJted)                                 No.              No.

  I hereby certify and return that I        OJ
                                      have personally served ,          OJ
                                                                     have legal evidence of service, Cl have executed as shown in "Remarks", the process described
  ou the individual , compauy, cotp0ration, etc., at the address shown above on the on the individual , compauy, cotp0ration, etc. shown at the address inserted below.

   D       I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remnrks below)
  Name and title of individual served (if not shown above)                                                                             D   A pen;on of suitable age and discretion
                                                                                                                                           then residing in defendant's usual place
                                                                                                                                           of abode
  Address (complete 011ly differem than s/zow,i above)                                                                                 Date                  Time
                                                                                                                                                                                01 am
                                                                                                                                                                                OJ pm
                                                                                                                                       Signature of U.S. Marshal rn- Deputy


  Service Fee                 Total Mileage Charges Foiwarding Fee             Total Charges            Advance Deposits        Amount owed to U.S. Marshal* or
                              including endeavors)                                                                              (Amount of Refund*)




  REMARKS:




   ·J?JUNT 5 COPIES: . 1.CLERKOFTHEC0URT                                                                                                            PRIOR EDITIONS MAY BE USED
                                   2. USMS RECORD
                                   3. NOTICE OF SERVICE
                                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,                                                                  Form USM-285
                                      if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                  Rev. 12/15/80
                                   5. ACKNOWLEDGMENT OF RECEIPT                                                                                                            Automated 01/00


                                    Case 5:20-mc-00018 Document
                                                           1-5 1 Filed 07/29/20 Page 10 of 24
                   USM-285 is a 5-part form. Fill out the form and print.5 copies. Sign _as needed a_nd route as specified below.

              U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
              United States Marshals SeIYice                                                          See "Instructions for Service of Process by U.S. Marshal"

               PIAINTIFF                                                                                                                COURT CASE NUMBER
                               Donald J. Trump, et al.                                                                                     19-1540
               DEFENDANT                                                                                                                TYPE OF PROCESS

                               Deutsche Bank AG                           et al.                                                          WARRANT for ARREST
                                    NAME OF INDNIDUAL, COMPANY, CORPORATION. EfC. TO SERVE OR DFSCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

                   SERVE               CNN Center
                         AT{        ADDRESS (Street or RFD, Apartment No., City, State and ZlP Code)

                                       1 CNN Center, Atlanta, GA 30303
               SEND NOTICE OF SERVICE COPY TO REQUFSTER AT NAME AND ADDRESS BELOW                                                  Number of process to be
                                                                                                                                   served with tins R>nn 285                   1


                             '
               * SEE ATTACH. OFFICIAL CHANGE OF ADDRESS*
                                                                                                                                   Number of parties to lie
                                                                                                                                   served in this case                         1

              ______h-_________________________pg.
                                                                                                                                   Check for service
                                                                                                                                   on U.S.A.
                                                                  5-5     • • • • • • • • n u o . n n • - H • n • • • n • - - - - - - - - - - - - - - · • • .... •••••••••••• • • - - - - - - -


                   SPECIAL INSTRUCTIONS OR OTHER INFORMATlON THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses.
                   All Telep/wne Numbers, and Estimated Times Available for Semce):
            Fold                                                                                                                                                                         Fold
                      UNITED STATES MARSHAL YOU ARE HEREBY COMMANDED to arrest the
                      following property per the attached Warrant[dkt#252], under
                      the NATIONAL SECURITY ACT, and immediately return to the
                      requester. (Self-addressed Stamped Envelope Enclosed)

                                                                                                      ID] PlAINflFF           TELEPHONE NUMBER                       DATE

                                                                                                      OJ DEFENDANT                                                    5/23/20
                            ~~ow FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
              I acknowledge receipt for the total     Total Process    District of      District to       Signature of Authorized USMS Deputy or Clerk                        Date
              number of process indicated.                             Origin           Serve
              (Sign only for USM 285 ifmore
              than one USM 285 is submitted)                           No.              No.

              I hereby certify and retwn that I OJ have personally served , OJ have legal evidence of service, C have executed as shown in "Remarks", the process described
              on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

               D      I hereby certify and retwn that Jam unable to locate the individual, company, corporation, etc. named above (See remarks below)
              Name and title of individual served (if not slww11 above)                                                                   D    A person of suitable age and discretion
                                                                                                                                               then residing in defendant's usual place
                                                                                                                                               of abode
               Address (complete 011Jy different than sllow11 above)                                                                       Date                    Time
                                                                                                                                                                                       OJ am
                                                                                                                                                                                       OJ pm
                                                                                                                                           Signature of U.S. Man.ha! or Deputy


               Service Fee          Total Mileage Charges Forwarding Fee             Total Charges        Advance Deposits        Amount owed to U.S. Marshal* or                               a

                                    including endeavors)                                                                          (Amount of Refund*)




               REMARKS:




               FRINT 5 C(>'PIES:       I. CLERK OF THE COURT                                                                                            PRIOR EDffiONS MAY BE USED
                                       2. USMS RECORD
                                       3. NOTICE OF SERVICE
                                       4. BILLING STATEMENT*: To be returned to the U.S. Man.ha! with payment,                                                                    Fonn USM-285
                                          if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                    Rev. 12/15/80
                                       5. ACKNOWLEDGMENT OF RECEIPT                                                                                                              Automated 01/00


                                        Case 5:20-mc-00018 Document
                                                               1-5 1 Filed 07/29/20 Page 11 of 24
2.-2...3.
.:-: -:. · ~: USM728;i is a 5-part form. -Fi.II ,out tp~ -form and print 5.copies. Sign as·neep~d a:ncrroute_ as specifieq b~Jbw,~ ..-: :, ; '_ ·                                        /·2
                                                                                                    ...
        US. Department of Justice                                                               PROCESS RECEIPT AND RETURN
        United States Marshals Service                                                          See "Instructions for Sen•ice of Process bv U.S. Marshal"

         PLAINTIFF                                                                                                               COURT CASE NUMBER
                     '       BERRY                                                                                                4:20-cv-173-0
         DEFENDANT,                                                                                                              TYPE OF PROCESS                                          ,_
                             WILSON                                                                                               Warrant for Arrest In Rem*
                              NAME OF lNDNIDUAL, COMPANY, CORPORATION. EfC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
             SERVE                "CLASSIFIED" Federal Reserve Bank security #                                                                           '7721472
                AT{           ADDRESS (Street or RFD,Apartmenl No, City, Slate and ZIP Code)

                                 3150 Horton Rd. , ·Fort Worth, TX 76119


                         ,-
         SEND NOTICE OF SERVICE COPY TO REqUESTER AT NAMEAND ADDRFSS BELOW




                             SEE ATTACHED OFFICIAL CHANGE OF
                                                                                                                             Number of process to be
                                                                                                                             served with this Fonn 285


                                                                                                                             Number of parties to be
                                                                                                                             served in this case
                                                                                                                                                               1

                                                                                                                                                               1

                                         ADDRESS                                                                             Check for service                 X
                                            \
                         L                                                                                                   on U.S.A.


             SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (!._ndude Business and Alternate Addn,sses,
         All Telephone Numbers, tllUlEmmated Times Available for Servia):
      Fold                                                                                                                                                                     Fold

                 *SEE ATTACHED WARRANT FOR ARREST IN REM
                 *REMIT BILLING STATEMENT AND FEES TO CLERK FOR PAYMENT per
                  FEDERAL RESERVE BOND Contract N o . ~ in ("CRIS")
              (Trump etal v Deutsche Bank et al,#19-1540,dkt#252,p8-13,2nd Cir.)*
                                       Originator requesting service on behalf of:              i   PLAINTIFF             TELEPHONE NUMBER                 DATE

                                                                                                CiDEFENDANI'

                                         FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE ~ELOW THIS LJNE
         I acknowledge receipt for the total     Total Process   District of      District to         Signature of Authorized USMS Deputy or Oed:                   Date
         number of process indicated.                            Origin           Serve
         (Sign onl.__v for U.SM 285 ifmore
         than one USM 285 is s:ubmi11ed)                         No.              No._·_

         I hereby certify and return that I OI have personally served. OI have legal evidence of service,      a
                                                                                                             have executed as sho\\'JI in "Remarlcs". the process descril>ed
         on the individual, company, coiporation, etc~ at the address shown above on the on the individual, company, corporalion, etc. shown at the address inserted below.

         D      I hereby certify and retmn that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
         Name and title of individual served (if not s/Jown above)                                                                 D    A pecsoo. af suirable age and discretion
                                                                                                                                        then residing in def~daut's usual place
                                                                                                                                        of abode
         Address ( complete 01rly differenl than shown above)                                                                       Date                  Time
                                                                                                                                                                             Olam
                                                                                                                                                                             Q]    pm

                                                                                                                                    Signature of U.S. Marsbal or Deputy



         Service Fee          Total Mileage Charges     Forwarding Fee         Total Charges          Ad\'auce Deposits     Amount owed to U.S. Marshal" or
                              including endeavors)                                                                          (Amount of Refund*)




         REMARKS:




         PRINT .5 COPIES:         1. CLERK OF THE COURT                                                                                          PRIOR EDITIONS MAY BE USED
                                  2. USMS RECORD                                                                                                               \
                                  3. NOTICE OF SERVICE
                                  4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,                                                               Form USM-285
                                     if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                               Rev. 12/15/80
                                  5. ACKNOWLEDGMENT OF RECEIPT                                                                                                         Automated 01/00




                                   Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 12 of 24
                                                        14-14(g)
MIME-Version:1.~
From:ec,f_txnd@txnd.uscourts.gov
To:Courtmail@localhost.localdomain
      r recipients:
Duane Letroy Berry<BR>#62250019<B ~          Worth FMC<BR>PO Box 15330<BR>Fort
Worth TX 76119<BR>,
Federal Reserve Bank System Accounting
0,
Federal Reserve Bank of New York
0

Message-Id:<l2l46073@txnd.uscourts.gov>
Subject:Activity in Case 4:20-cv-00173-O Berry et al V. Wilson et al Notice and
Instruction to Pro Se Party
Content-Type: text/plain
This is an automatic e-mail message generated by the CM/ECF system.
Please DO NOT RESPOND to this e-mail because the mail box is unattend~d.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
policy permits attorneys of record and parties in a case ( in_cluding pro se
litigants) to receive one free electronic copy of all documents filed electronica
lly, if
receipt is required by law or directed by the filer. PACER access fees apply
to all other users. To avoid later charges, download a copy of each document
during this first viewing. However, if the referenced document is a transcript,
the free copy and 30 page limit do not apply.
 U.S. District Court
.Northern District of Texas
Notice of Electronic Filing
The following transaction was entered on 2/25/2020 2:56 PM CST and filed
on 2/24/2020

,Case Name: Berry et al v~ Wilson et al
Case Number: 4:20-cv-00173-O
https://ecf.txnd.uscourts.9ov/cgi-bin/DktRpt.pl?328841
Filer:

Document Number: 3
https://ecf.txnd.uscourts.gov/docl/177113083491?caseid=328841&de=seq=num=ll&magi
c~num=MAGIC&pdf=toggle=possible=l


Copy the URL address.from the line below into the location bar
of your Web browser to view the document:
3


Docket Text:
Notice and Instruction to Pro Se Party
( npk)
                                              ..
4:20-cv-00173-O Notice has been electronically mailed to:

4:20-cv-00173-O Notice required by federal rule will be delivered by othet
                 Case
means (as detailed  in5:20-mc-00018
                        the Clerk's Document
                                     records 1 for
                                                Filed 07/29/20 Page 13 of 24
                                                    orders/judgments)     to:
4-2~
' SENDER:
 ~ . i, . COMPLETE
               . . THIS. SECTION,. '                                •,       '

     • Complete items 1, 2, and 3.
     • Print your name and address on the reverse                                                                                   D  Agent
        so that we can return the card to you.                                                                                      D  Addressee .
                                                                                                                               C. Date of Delivery
     • Attach this card to the back of the mailpiece·,
        or on the front if space permits.                                                                                        ,~-1>-1
     1. Article Addressed to:                                                     · D. Is delivery address different from item 1?   D   Yes
                                                                                       If YES, enter delivery address below:        D   No
      OJJi 'lt1°:J .5M-re..s HiJP-siln-L
     5c)t w, 10"14 Shz.E£T
     fbtc r Woe-t/.-11 /J- · ·70 ID::>
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                           llll I111111111111111
                                                                                       rviceType                        D Priority Mm7 Express®
                                                                          i\dult Signature                              D·Registered Mail'M
         111 IIIIII IIII IIIIII IIll Ill                               D Adult Signature Restricted Delivery            D Registered Mail Restricted
            9590 9402 4115 8092 0906 92                                D Certified Mall®                                   Delivery
                                                                       D Certified Mail Restricted DeHvery              D Return Receipt for
                                                                       o· Collect on Defivery                              Merchandise
-.,-,._.-;_-,_-.-,.-.--L----~---_-_,-_-_,-_-__-_-.-..~-- --- - - - - 1 ~- ~-"·- ·n Defivery Restricted Delivery         D Signaiure Confirmation™
                                       73
                7002 3150 DODD 9049 93lt~bf                                         lall                     - -        D Signature Confirmation
                                                                                                                         · Restricted Delivery
    BA                                                 tfPIF>ffi :mm                   I Restricted Delivery

; PS Form     3811 ; July 201.5 PSN 7530-02-000-9053                                                                  Domestic Return Receipt




                                                                                                                     First-Class Mail·
                                                                                                                     Postage & Fees Paid
                                                                                       111111                        USPS
                                                                                                                     Permit No. G-10

             9590 9402 4115 8092 0906 92
         United States                      • Sender; Please print your name, address, andZI_P+4® in this box•
         Postal Service
                                             rtEDiZ/2'4-t-- f2~9ER-J~ 6tw k 51(:::l'GH
                                              -        C




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                                                   3611/~                         /5,e P/v/1/ ltfl--( $:;:
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           Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 14 of 24
                                                                                                                                              ~ope.,+j
        BP-A383.058                                             INMATE PERSONAL PROPERTY RECORD                                                            CDFRM
        SEP 05
        U.S. DEPARTMENT OF JUSTICE                                                                                                                  FEDERAL BUREAU OF PRISONS

         Institution:                                                               I. Name:

         2.                                                                         3. Unit:                                                                                   - I g- :)..o
         5.     Purpose of Inventory (Check one that applies): Date and Time of Action:                                                                          6. Disposition (Disp.)

                a.      Admission             b. _   Hospital                 C.     Writ                d.   Transfer                   e.   V   Detention
                                                                                                                                                                 D-Donated
                                                                                                                                                                 K-Keep in Possession
                                                                                                                                                                                      M-Mail             S-Storage

                f.      Release               g. _   Incoming Package         h.       Other (specify)                                                           C-Contraband (Attach BP-SI 02)

         7. Type of Property:
         a. Personally Owned Items                                                                              b. Hygiene, etc.                                      d. Food/Tobacco items
         ~                   Article                                                Article                     !!_                   Article                         # Article
               Batteries                                          Plastic spoon, cup                                Dental Floss                                           Chewing to.bacco
              Belt                                                Playing-C.:::ards                                 Dentures                                               Snuff
              Billfold                                            Purse                                             Deodorant                                              Coffeemate
                 Books, Reading                                   Radio (w/earplug)                                 Hair oil                                               Cold drink mix, soda
                 hard      soft                                   Religious Medal                                   Noxema                                                 Fruit
               Books, Religious                                   Ring                                              Powder                                                 Honey, Hi-protein
                 hard       Soft                                  Shirt/Blouse                                      Razor                                                  Instant chocolate
               Brassiere                                          Shoes                                         _ _ Shampoo                                                 Instant coffee
               Cap, Hat                                           Shoes, shower                                     Shaving lotion
               Coat                                               Shoes, Slippers                                   Skin lotion
               Coins                                              Shoes, Tennis                                     Soap dish
               Comb                                               Shorts                                            Toothbrush
               Combination Lock                                   Skirt                                             Toothpaste
               Dress                                              Slip
               Driver's License                                   Social Security Card
               Earplugs                                           Socks
               Eyeglass case                                      Socks, Athletic
               Eyeglasses                                         Stamps
               Gloves                                             Stockings                                                                                            e. M isccllaneous (List any damaged
               Hairbrush/Pick                                     Sunglasses                                                                                           property and from where it was received;
               Handkerchief                                       Sweater                                                                                              e.g. U.S. Marshal)
               Jacket                                             Sweat pant
               Jogging Suit                                       Sweat Shirt                                   c. Hobby craft
          _j_ Legal Materials                                     Trophy
               Letters                                            T-Shirts
               Magazines                                          Underwear
               Mirror                                             Watch/Watchband
               Nail Clippers
               Pant/Slacks
               Pen/Ballpoint
               Pencils
          _j_ Personal Papers
               Photo Album
               Photo


          8. Items Alleged by Inmate to Have Value Over $100.00
                Description of Property                                                                                                                                                  Value Alleged by Inmate




              {Pir&X) !)t&,11;e/-....._17._d__,__/l/......,_7,"""""'!,d------------
         )f No individual item over$ 100.00
          9. Article(s) listed as "Mail" (M) Are to be forwarded to (Name and Address _of Consignee):


        10. Claim Release: a. The receiving officer, as soon after receipt of the property as possible, will review the inventory with the inmate to verify it's accuracy. Property that is stored, kept in possession
        of the inmate, mailed out of the institution, or donated is to be marked in the appropriate section of this inventory form. The receiving officer certifies receipt, review and disp?sition of the property
        by signing below. The inmate by signing below certifies the accuracy of the inventory, except as noted on the form, relinquishing of all claim to articles listed as donated. receipt of all allowable items,
        and receipt ofa copy of the inventory. When the inmate claims a discrepancy in the inventory, the receiving officer shall attempt to resolve the discrepancy. If the inmate states that there is missing
        or damaged property, this information should be noted under COMMENTS.
        COMMENTS:

        Printed Name/Signature of Receiving Officer: .::iD...-4,r.,..;~~.µ,v,~3,1u_~~~~:_~:..__c;,:~~gE::::~~~~::2'.:__ _ _ _ _ _ _ Date:                                       2-/~;,2t}            Time:   J; /5 f Y"l
                                                                                                                                                      ~,'.}d:5e.01Cj                  2-JY-x?> 3:/:'(',,P/>-.-
                                                                                                                                                         egister #                     Date                  Time    3/
                                                                                                                      property stored as a result of the inmate's housing. The inmate certifies re leas~ of the property,
        except as noted on this form, and receipt of a copy of the inventory by signing below. When the inmate claims a discrepancy in the inventory, the releasing officer shall attempt to resolve the
        discrepancy. If the inmate states that there is missing or damaged property, this information should be noted under COMMENTS.
        COMMENTS:

        Printed Name/Signature of Receiving O f f i c e r : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Date: _ _ _ _ _ _ _ Time: _ _ __

        I have today reviewed the property returned to me. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Signature of Inmate                                                                         Register#                       Date                  Time

~-~'3                                     Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 15 of 24
        Original: Central File; Copy: Inmate, R&D, Special Housing
 ~      (This form may be replicated by WP)                                                                                                                                          Replaces ofBP-S383 of AUG 94
 BP-A0383                                                                                  INMATE PERSONAL .PROPERTY RECORD                                                                                                                CDFR.i'\'J
 AUG 11
 U.S. DEPARTMENT OF JUSTICE                                                                                                                                                                                              FEDERAL BUREAU OF PRISON


    ~.Rcl:!ist1.·rNo:                  C.:._)_2.<D-t)J 7                                                          3. I !nit:                                                                I   4. Date & Timi: of Im i:n,torJ:                  j ·        2      2-o
                l'urposc     tif   ln,i:nton, tChc,:k              that applil-"s): D;;1te and
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                                                         tlOI.."                                                                                                                                                                           6. Dispo:-iti,1n lDi:-p. I
                a ..                                     0.         llo~pital                            ,.            \\'rit                          d           Transfer
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                                                                    Incoming r~11:k:1gi:-                h.                                                                                                                                C-ContrJ.h;rnd (Attai:h BP-SI 0~ >

       Type of Propert~·:
    a. Pi:r.:-ona\lv Owned lti:ms                                                                                                                                     b. lh~icne. etc.                                                            d. Fuod
                                    Article
                                                                             _ _ Pbstic :c-roon. cup
                                                                                                       Artid.:                                    ~-                                                                                             '!,            Artick
              Address Book                                                                                                                                               Aspirin                                                                        Bean
  _ _ Bancrks
                                                                                 1•1a: ing Card:-                                                      r             _ _ Bod) Soap                                                                      Cake
     Bell                                                                        Pursc                                                            -r::=-                 C,1non S\\ahs                                                                  Cand:


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     [l illfold                                                              _ _ Ra<lio t,,/c.;irplug}                                                                   Di:o<lorant                                                                    Chip,
                Book:-.. Reading                                                 Rclii.dci"us :-..Jcd:.il                                                                Dental Floss                                                                  Coffeemati:
                hard _ _:'>oft                                             / ~ STffl1/8touse                                                                             DC"ntur.:s Power                                                              Cold drink mix. sodo
      Book~. Rdigious                                                              / Shoe~                                                                               Hair Oil                                                                       Cough Drops
        hart.I     Soli                                                   ! _;;;:,- Sh,h:S.        shO\\Cf                                                               Pctro\Cum Jdh·                                                                 Fish Pack!-
                                                                                                                                                                                                                                   -,
      Boot
      Brassicr1..;
                                                                             _ _ Shoes. Slippers
                                                                                 Short:-,                                                         r                        /:
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                                                                                                                                                                                lRazor                .                            I
                                                                                                                                                                                                                                                       Fruit
                                                                                                                                                                                                                                                 · _ _ Mone-:. I Ii-protein

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                                                                                 Skirt                                                            - , - ,, , - , - Shampoo                                                                         _ _ Instant Con;;.c-lln~tant Chocolate
  _ _ Cap.11.n
             Coat
                                                                             _ _ Slip
                                                                                       Socks
                                                                                                                                                  --._...-           ~ Sha\ ing L<Jlffi9
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                                                                                                                                                                                        bi~b      f                                                _ _ Pepperoni
                                                                                                                                                                                                                                                   _ _ Noodles
 __ Eycgbss Case                                                                        Stockings                                                                    _ _ Toqthflrush Holder                                                             Rice
                                                                                        Sunglas=:,_es                                                                    J"uothpastc                                                               _ _ Sausage
    Eycglas::,,c~
                                                                                        S\\ .:at pants                                                                   Tweezers                                                                  _ _ Spices
             GIO\CS
             Hairbru:-h/l'ick                                                          T-Shirt                                                                                                                                                          Tea
                                                                                        Sweat Shirt                                                                                                                                                     Vitamins
             1landkcrchicf
 __ lkadphoni:s                                                                        Thermal Bottoms
     Launt.Ir): Jacket                                                                 Thermal Top
 _ _ Laundry Dctcrgcnt                                                                 UndCf\\ear                                                                    c. Hobb\· craft
             Legal Materials
             Lc-ttcrs                                                      ·,r         Watch/\\'atchhand
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         ~lirror
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         Nail Clipp.:rs
         P,..-n/Ballpoint
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         Pencils
         Pc-rsonal Papers
         Photo Alhum
         Photo
         Plastic Bowl Plastic Spoon. cup

  8. ltC"ms Allcgi.:d hy Inmate to 1bn· ValUI.." O,er SI00.00
               Description         or Propcrtv                                                                                                                                                                                                                            Value ,\llc!.!cd bv lnm::nc


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                            , .- ,n     tir    /t'\,(\                                                                                                                                                                                             j L,'    / __, (/ (J
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'/'..No.. iudirlduaUt~rn.Jl,-~r SI 00.00

   9 ..·\rtickt.~) listed as -Mair· (:-,..I) Arc to he for\\ardcd to lNamc :rnd Address ofCon:c-igni:c):


I 0. Claim Release: ::i. The rccc-iving officer. as soon ath:r receipt oft hr property a!- possibk•. will n:\"i1.•w the invc-ntory with the inmate hl \'crilY it":- accuracy. Propcrt3- that i~ stored. kept in pos5e$sion
of the inmale. mailed out of the i~stitution. or donated is to be marked in the approprintc section ufthis in\·c-nllrry form.· The recc-iving officer c"·rtifo:s n:ci:ipt. rc\'iew and di:-positilm of the property
h: signing hl!low. The inma1c by signing bdnw cert ilk~ th"· occuracy of tht· in\'cntory. e.'-ccpt as noted nn thi: form. relinquishing of all claim to articles listed as donated. rc-cdpt of all allowahk items.
and receipt ofa cop) of the io\c-ntory. When the inmate claims a discrepancy in th~ in\·entory. tht: r.:cch·ing oniccr shall attempt lo resol\C the discrepancy. If the' inmate stat.:s that there is missing
or damaged properly. this inf(nmation should b1.• noti.!d undi.:r CO~1ME~TS.



:::::.: !~::~/Signature orRccch-ing Officer:                                       lA/
                                                                           -~~(~_,_.    l /[ ~- jjJ-/L
                                                                                     ~ \ - / ~ - - - - - - - - - - _ - - Date:
                                                                                                     .        ,                              -                                                                               ,·., ) 1      \.0 ·~,I I. {..,J                                   <...,/'/~---~
I ha,·c loda,· re,·ie\\ed the prupert:i,· returne,ll tu me.\/                                                     '~        _______ ......                                                                                1.-..u--.~~ c'                                                      ,-'\ .
                                                                                  /Sienature of lnmaTo..__                                                                                                                Regbtcr #                                 Date                    Time
h. Upon n:l~ase of the inmate from the unit. deh:ntion. ct.:., the- relcasin{ofti.:er is~l.gi\'e the inmate that rropcrty stored as a result of the inmatc·s housing. The inmate ccrtitic-s release of the property.
,.·xc,.•p1    :1s 001.:-d   on I his form. and receipt ·of a copy of the in\"1.·ntory ~ ~.igning. hi\lO\\. \\' hen the inmate c.:laims a di~cri:pancy in the im cnttiry. the rdcasing officer sh.ill am:mpt to rc!>Oln: thc-
Jbcrepancy ..           ,ii· the inm;llc states that there is missing or damaged prope-~). this infcrmation .,houltl he noted unJcr CO).t ;\.J ENTS.
COMMENlS:                                                                                                          ~-                                         _.. .-_.'·

Printed N:1me/Signature of lteceh·ing Officer: _ _ _ _ _c..c__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ U:ue: _ _ _ _ _ _ _ Timl": _ _ __

I h.1Yc to..ta,· rc,·icwed the propcrt:i,· returned to me. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                       Si::,naturc of Inmate                                                                                                              Re2istcr #                                Dale                    Time



                                                         Case 5:20-mc-00018 Document
                                                                             Prescribed by 1
                                                                                           P55~Filed
                                                                                                0    07/29/20 Page 16Replace
                                                                                                                      of 24 of BP-S383 of AUG 94
       BP-A383.058                                             INMATE PERSONAL PROPERTY RECORD                                                           CDFRM
       SEP 05
       U.S. DEPARTMENT OF JUSTICE                                                                                                                 FEDERAL BUREAU OF PRISONS
        Institution:
                          ,, H
                          ,-
                                      /l
                                      (._                                          1. Name:     \.)tr f'-1 , D                ua,A('_
        2. Register No:     (fJ!:)sR ':){) - (} /?                                 3.Unit:     FD&- 22-{p                          14.Date&Timeofinventory:           C/-1-UJZD ~ /"{JTJpN
        5.     Purpose of Inventory (Check one that applies): Date and Time of Action: _ __                                                                     6. Disposition (Disp.)
                                                                                                                                                                D-Donated            M-Mail             S-Storage
               a.      Admission             b. _   Hospital                 C.     Writ                   ct.     Transfer                e. -/2etention
                                                                                                                                                                K-Keep in Possession
               f.      Release               g.     Incoming Package         h.       Other (specify)                                                           C-Contraband (AUach BP-Sl02)

        7. Type of Property:
        a. Personally Owned Items                                                                                    b. Hygiene, etc.                                d. Food/Tobacco items
        #                   Article                                              Article                             #                  Article                      # Article
             Batteries                                      __    Plastic spoon, cup                                     Dental Floss                                _ _ Chewing tobacco
             Belt                                           __    Playing Cards                                          Dentures                                        Snuff
             Billfold                                             Purse                                                  Deodorant                                       Coffeemate
                Books, Reading                              __    Radio (w/earplug)                                      Hair oil                                        Cold drink mix, soda
                hard      soft                                    Religious Medal                                        Noxema                                          Fruit
        _ _ Books, Religious                                __    Ring                                                   Powder                                          Honey, Hi-protein
                hard       Soft                                  Shirt/Blouse                                            Razor                                           Instant choc'?late
             Brassiere                                           Shoes                                                   Shampoo                                         Instant coffee
              Cap, Hat                                           Shoes, shower                                           Shaving lotion
              Coat                                           _ _ Shoes, Slippers                                         Skin lotion
              Coins                                              Shoes, Tennis                                       _ _ Soap dish
              Comb                                               Shorts                                                   Toothbrush
              Combination Lock                                   Skirt                                                    Toothpaste
              Dress                                          _ _ Slip
              Driver's License                                   Social Security Card
        _ _ Earplugs                                             Socks
              Eyeglass case                                      Socks, Athletic
              Eyeglasses                                         Stamps
              Gloves                                         _ _ Stockings                                                                                           e. Miscellaneous (List any damaged
              Hairbrush/Pick                                     Sunglasses                                                                                          property and from where it was received;
              Handkerchief                                       Sweater                                                                                             e.g. U.S. Marshal)
             Jacket                                          _ _ Sweat pant
              Jogging Suit                                       Sweat Shirt                                         c. Hobby craft
        -;;r  Legal Materials                                _ _ Trophy
              Letters                                            T-Shirts                                            !                  Article
              Magazmes                                           Underwear
              Mirror                                             Watch/Watchband
              Nail Clippers
              Pant/Slacks
        _ _ Pen/Ballpoint
              Pencils
              Personal Papers'
              Photo Album
              Photo

         8. Items Alleged by Inmate to Have Value Over $100.00
               Description of Property                                                                                                                                                    Value Alleged by Inmate




        'k,o individual item over $100.00


         9. Article(s) listed as "Mail".(M) Are to be forwarded to (Name and Address of Consignee):


       I 0. Claim Release: a. The receiving officer, as soon after receipt of the property as possible, will review the inventory with the inmate to verify it's accuracy. Property tha't is stored, kept in possession
       of the inmate, mailed out of the institution, or donated is t'o be marked in the apprOpriate section of this inventory form. Th~ receiving officer certifies receipt, review and disposition of the property
       by signing below. The inmate by signing below certifies the accuracy of the inventory, except as noted on the form, relinquishing of all claim to arii.cles listed as donated, receipt of all allowable items,
       and receipt ofa copy of the inventory. When the inmate claims a discrepancy in the inventory, the receiving officer shall attempt to resolve the.-iliscrepancy. If the inmate states that there is missing
       or damaged property, this information should be noted under COMMENTS.                                                                               ~~ ·
       COMMENTS:

                                                                ..,_ . \\J._ r,.,;.
                                                               '')           \J.. ~ll'....-·          ,'j....._~ - ')>     '
                                                                                                                         ___;)                                                   1 1- ZD..,.7 0               15:1 !)
                                                                                     ----<'
                                                                                                                                                                                                                             Dr'.,.,,_
       Printed Name/Signature of Recei\'ing Officer:                                                                                                                    Date:    - "'               Time: _ _ __

       I have today reviewed the property returned to m,e.X:           I ><:_
                                                                    /-"t-                         I                      ~___..                        Lo l Z5b -Dt9                     \f-'{. iHo            15°D(J';lr·"-
                                                         . Signai'Ur,e"'of Inmate ....)                                                              Register#                          Date               Time
       b. Upon release of the inmate from the unit, detention, etc., the ref~n-sing~f-fi -;is to give the inmate that property stored as a result of the inmate's housing. The inmate certifies release of the property,
       except as noted on this form, and receipt of a copy of the inventory by signing below. When the inmate claims a discrepancy in the inventory, the releasing officer shall attempt to resolve the
       discrepancy. If the inmate states that there is missing or damaged property, this information should be noted under COMMENTS.
       COMMENTS:

       Printed Name/Signature of Receiving Officer: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - D a t e : _ _ _ _ _ _ _ Time: _ _~ _

       I have today reviewed the property returned to me. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                          Signatu_re of Inmate                                                                       Register#                          Date               Time

-2-3                                        Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 17 of 24
       Origina.l: Central File; Copy: Inmate, R&D, Special Housing
                                                                                                                                                                                    Replaces ofBP-S383 of AUG 94
@~=~L:::.~::y be replicated by WP)
                                                                                                                                                                                                           l lC::P I \/1\1
                                            I
                   IN THE UNITED STATESjDISTRICT CO
                   FOR THE NOTHERN DISTRICT OF TEXA
                                            I
                             DALLAS DI~ISION

                                            I
                                                                                   MAY 1 :> 2020   ~v
ALMA CRUZ,                                  I
             Plaintiff,
                                            I                          CLERK, U.S. DISTRICT COURT
v.                                                           No. 3:19 cv-%'t349_ H 1i,~
                                                I
BANK OF AMERICA, N.A. et al.                    I
             Defendants.
_______________ !


                             NOTICE OF APPEAL (Fed.R.App.P. 4 (a) (B) ( ii)
                                                I
     Notice is hereby given that the FEDERAL RESERVE BANK OF NEW
YORK (the 'Interested Party' by automatic substitution pursuant
to Fed.R,Civ.P. 25{d) in the above n~med case) hereby appeal to
the United States Court of Appeals £9r the 5th Circuit from the
'Order Setting Briefing Schedule' endered
                                     I
                                          in this action on
03/3112020, akt1s1.                                 I
     This Notice is pursuant to Fed.R.AJp.P. 4(a)                     (B)   (ii) •. Enclosed

is a self~addressed sta~ed envelope~                         Please return a stamped
received copy of this Notice and make\ all other correspondences
to counsel at the address below pursurnt to 28 USC§ 516 and
28 USC § 517. dkt.-1F5'1

             "The real party in interest in an official
              capacity suit is the governmental entity
              not the individual officehqlder."[See
              Karcher v May,484 U.S. 72,18,83,108 s.ct.
              388,98 L. Ed. 2d 327(1987)-See King v Mc-
              Millan,594 F.3d 301,309-318,4th Cir. 2010]
                                                        I
Date: May 4, 2020                                       \ Respectfully              i tted,

                                                        l~~-=---------,~-
                                                         'Intere ed Par.ty'
                                                        -1


                                                        . FEDERAL R           RVE BANK OF
                                                         J   NEW   YORK      esident)
                                  Counsel                    U.S. DEPT. OF JUSTICE
                                                             U.S. ATTORNEY GENERAL
                                                             950 Pennsylvania Ave. NW
                                                             Washington, DC 20530
             Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 18 of 24
                                    4-5
Record of Accorn8a                              7,~Iffl/2019, 2739015, Page9 of 18          Pagel of 8




    f~ Int~1nal      Re·venue Service
         United States Deprutment of the Treas1.,!ry

                           This Product Contains Sensitive Taxpayer Data

                                     Record of Account
                                                                   Request Date:      05-01-2018
                                                              Response Date:          05-01-2018
                                                            Tracking Number:        100386302553
    FORM NUMBER:          1120
   TP.X PERIOD:           Dec. 31, 2014


   TJ\XPAYER IDENTIFICATION NUMBER:


   BANK OF Al~ERICA CORPORATION
   150 N COLLEGE ST NCl-028-17-06
   CHARLOTTE, NC 28202-2271-996


           --- ANY MINUS SIGN SHOWN BELOW SIGNIFIES A CREDIT fil10UNT ---


   ACCOUNT BALANCE:                                       $0.00
   .ZI.CCRUED INTEREST:                                   $0. 00 AS OF: May    14, 2018
   ACCRUED PENALTY:                                       $0. 00 J\S OF: Sep. 15, 2015


   ACCOUNT BALANCE PLUS ACCRUALS
   (THIS IS NOT A PAYOFF AMOUNT):                         $0.00


                   **   INFORMATION FROM THE RETURN OR AS ADJUSTED • *
   NET RECEIPTS:                                  .$9"77, 720.00
   TOTAL INCOME:                          $110,335,617,690.00
   TOTP.L DEDUCTIONS:                      $96,981,647,929.00
   NET TAXABLE INCOME:                     $13,353,969,761.00
   MINIMUM ·rAX AMOUNT:                                  $0.00
   ES'fit-lATED TAX CREDITS:                 -$550,324,858.00
   PERSONAL HOLDING TAX:                                 $0.00
   ES/7004 PAYMENTS CL.~IMED:                -$650,324,858.00
   TAX PER RETURN:                            $439,997,3111.00
   NAICS CD:                                            551111


   RETURN DUE DATE OR RETU!<ll RECEIVED DATE (WHICHEVER rs LATER) Aug. 26, 2015
   PROCESSED DATE                                                         Oct. 05, 2015




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            Record of AccOLl!Je~MJAiYM?il4'V, ~~~2019, 2739015, Page10 of 18 _Page 3 of 8




                   42.l   Closed examination of tax return                                                             11-29-2016                            $0.00
                   424    Examination Request                                                                          11-29-2016                            $0.00
                   960    Appointed representative                                                                     06-30-2017                            $0.00
                   290    Additional tax assessed                                                         201803       02-05-2019                            $0.00
                   n/a    83354-409-15117-8
                   560    IRS can assess tax until                                                                     01-30-201B                            $0.00
                          12-31-2019


                  EIN Provided:
                  Tax Period Requested:                     Dec. 31, 2014
                  Form Number:                1120
                  Duplicate Amendment Number: 000


                  The following items reflect the amount as shown on the return as filed or as
                  adjusted during return processing. It does not include adjustments to the account
                  after return settlement.




                                                                  Original Return

                  NAME (S) SHOWN ON RETURN·: BANK OF AMERICA CORPORATION
                  ADDRESS:                   150 N COLLEGE ST NCl-028-17-06

                                                      CH.!\RL01"fE, NC 28202-2271


                  CYCLE POSTED:                         201537
                  DLN:
                  REMITTJI..NCE:                          $0.00
                  RECEIVED DATE:                 08-26-2015



                  Indicators, Codes, and Miscellaneous Information
                  CORRE:SPONDENCE: RECEIVED DATE:                                                                                                        00-00-0000
                  PARENT CORP EIN:
                  OESIGNEE CHECKBOX:
                  DESIGNEE PHONE NUMBER:
                  TO'rAL ASSETS:                                                                                                   $3,889,574,776,881.00
                  SCH K NET OPERATING LOSS CARRYOVER PRIOR TAX YEARS:                                                                   $10,292,297,769.00
                  SCH N TOTAL ESTIMATED TAX INCOME EXCLUSION:                                                                                                 $0.00

                  Income
                  GROSS RECEIPTS OR SALES:                                                                                                           $977,720.00
                  RETURNS AND ALLOWANCES:                                                                                                                  $0.00
                  NET RECEIPTS PER COMPUTER:                                                                                                         $977,720.00
                  COST OF GOODS SOLO:                                                                                                                      $0.00
                  COST OF GOODS SOLO PER <;:OMPUTER:                                                                                                          $0.00




           1 ••   II             . ___ , ____ ,~-1_, ________ 4,_rr.1 .. n--..l---•   11.   _4,:. ... _   -t-'l--•'L-.l---..l .... _.n ...... _.:1 ...           C: /1 /'l/\1 0


                            Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 20 of 24
'..1-2.3
                                   Case· 19 1559           Document: 20    Filed: 11/07/2019 - Page: 9
  Page:        1 Document Name~ uht.J.t."Iea

  IRPTRN56090                      000000                   *(TY2014)
                                                                                           PAGE 0094 OF Oi45
   DOCUMENT TYPE: 1099-A
  PAYEE ENTITY DATA:                      56-090-
   BANK OF AMERICA
   100 N TRYON STREET
   T:HARLOTTE
     STATE: NC ZIP-: 28202-0000                                   ACQUISITION DATE:_ N/A
                                                                  PERSONAL LIABILITY (BELOW):
  ACCOUNT NUMBER:           14 202658BCT
  PAYER ENTITY DATA:      47652-
   BRIDGEWATER CAPITAL TR
   % BANK OF AMERICA TTEE
   38742 BRAMHAM ST·
    CLINTON TWP                                 MI 48038
     ITEM      DESCRIPTION: IP/REAL PROPERTY
     PRPTY FMV ••
     DEBT OUT •.• iiiiil:lmliiil!i!!!ll!i!--D




  **************************r.**                       TAXPAYER     COPY     ****************************




           Date: 5/1/2018 'rime: 5: 35: 4 7 PM
                              Case 5:20-mc-00018 Document 1 Filed 07/29/20 Page 21 of 24

., - .., "c:
                           BANK OF AMERICA~~

                           DES-024-03-18
                           PO Box 17270
                           Wilmington. DE 19850



                                             QQQQQ 1 9          OJ SP0.500 ..SNGlP Hl 1721343033-310H2                                 -,:Ol-f'()(l()J'l-1

                                             •l 11•1ffllllf,llll 1111 1111f 11f•IJ•lfd111111 1 l1flf •1 111111 11111
                                               11

                                         DUANE BERRY
                                         387 42 BRA.'v1HAM ST
                                         CLINTON TOWNSHIP, Ml 48038-3101




                                                                                          ·-----.
                           March 26, 2020



                           Reference number:                              04320




                           Attached below, ple~e find the reissued check you requested; please cash or deposit this check_
                           If you have questions. please cafl us at855.8l8~7850_


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